                                                                       Case 3:22-cv-01274-LB Document 23-4 Filed 04/26/22 Page 1 of 3




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                                                              6   Attorneys for Plaintiffs and Petitioners
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                                                              7   ROBERT VOGEL
                                                                  SHEANNA ROGERS
                                                              8   MICHAEL LOEB
                                                                  JACQUELINE WATSON-BAKER
                                                              9   HOUSING PROVIDERS OF AMERICA
ZACKS, FREEDMAN & PATTERSON, PC




                                                             10
                                                                                          IN THE UNITED STATES DISTRICT COURT
                          601 MONTGOMERY STREET, SUITE 400
                           SAN FRANCISCO, CALIFORNIA 94111




                                                             11
                                                                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                JOHN WILLIAMS, ROBERT VOGEL,                           Case No.: 3:22-cv-01274
                                                             14
                                                                SHEANNA ROGERS,
                                                             15 MICHAEL LOEB, JAQUELINE WATSON-
                                                                                                                       DECLARATION OF SHEANNA ROGERS
                                                                BAKER, and HOUSING PROVIDERS OF
                                                             16                                                        IN SUPPORT OF PLAINTIFFS’ AND
                                                                AMERICA, a 501(c)(4) non-profit Corporation,           PETITIONERS’ MOTION FOR
                                                             17                                                        BIFURCATION OF FACIAL AND AS-
                                                                            Plaintiffs and Petitioners,                APPLIED CLAIMS
                                                             18
                                                             19         vs.

                                                             20   ALAMEDA COUNTY, ALAMEDA
                                                                  COUNTY BOARD OF SUPERVISORS,
                                                             21   CITY OF OAKLAND, OAKLAND CITY
                                                                  COUNCIL and DOES 1-10,
                                                             22
                                                             23                Defendants and Respondents.

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                                                                  I, Sheanna Rogers, declare as follows:
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                                                                     1. I am an individual over the age of 18, and am a plaintiff in the above-captioned action. I have
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                                                                   DECLARATION OF SHEANNA ROGERS IN SUPPORT OF PLAINTIFFS’ AND PETITIONERS’ MOTION FOR
                                                                                BIFURCATION OF FACIAL AND AS-APPLIED CLAIMS (3:22-cv-01274)
                                                                           Case 3:22-cv-01274-LB Document 23-4 Filed 04/26/22 Page 2 of 3




                                                              1   personal knowledge of the following facts, and I would testify truthfully thereto if called to do so.
                                                              2       2. I own the property at 23243 Maud Ave., Hayward, California.
                                                              3       3. I ran a small, three-bedroom, independent living facility at 23243 Maud Ave, where my
                                                              4   husband and I cared and provided for people with mental disabilities and no families to turn to. I was
                                                              5   able to provide my clients with a safe living space and meals they could count on at 23243 Maud
                                                              6   Ave. Many of my clients had lived at this address for over five years.
                                                              7       4. 23243 Maud Ave has a separate studio unit. I rented this unit in 2018 to the current renter,
                                                              8   who paid $1,000 per month.
                                                              9       5. The current renter was never part of the independent living facility and I depend on the
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                                                             10   supplemental rental income to support my family.
                          601 MONTGOMERY STREET, SUITE 400
                           SAN FRANCISCO, CALIFORNIA 94111




                                                             11       6. Prior to Alameda County’s Moratorium, my renter began harassing my clients in the
                                                             12   independent living facility. The renter would scream profanities at my clients and throw garbage from
                                                             13   his unit into the street directly in front of the property.
                                                             14       7. The renter’s actions got so bad that I was forced to file a restraining order against the renter
                                                             15   and commence eviction proceedings to protect my clients and my property.
                                                             16       8. In February of 2020, the renter and I came to a settlement agreement, whereby the renter
                                                             17   agreed to vacate the property in April of 2020. However, after Alameda County enacted its
                                                             18   Moratorium, in March 2020, the renter refused to leave.
                                                             19       9. The renter is currently still occupying the property and has not paid rent in over two years.
                                                             20   The renter’s failure to pay is not related to any Covid-19 related reason.
                                                             21       10. During this time, the renter continued to harass my clients and I was forced to close my
                                                             22   business as a result.
                                                             23       11. I applied for rental assistance from Alameda County, but because my renter will not cooperate
                                                             24   with me, the County has refused to provide me with any relief.
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                                                                   DECLARATION OF SHEANNA ROGERS IN SUPPORT OF PLAINTIFFS’ AND PETITIONERS’ MOTION FOR
                                                                                BIFURCATION OF FACIAL AND AS-APPLIED CLAIMS (3:22-cv-01274)
                                                                       Case 3:22-cv-01274-LB Document 23-4 Filed 04/26/22 Page 3 of 3




                                                              1          I declare, under penalty of perjury that the foregoing is true and correct, and that I executed
                                                              2                        April 26
                                                                  this declaration on _________,           Hayward
                                                                                                 2022, in __________, California.
                                                              3
                                                              4                                                               Sheanna Rogers
                                                                                                                              Sheanna Rogers, Declarant
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                                                                   DECLARATION OF SHEANNA ROGERS IN SUPPORT OF PLAINTIFFS’ AND PETITIONERS’ MOTION FOR
                                                                                BIFURCATION OF FACIAL AND AS-APPLIED CLAIMS (3:22-cv-01274)
